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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                        5/5/20
 SIDNEY SOUFFRANT,
                Plaintiff,                                19-CV-5482 (BCM)
        -against-
                                                          ORDER
 14-15 MERTENS PLACE CORP, et al.,
                Defendants.

BARBARA MOSES, United States Magistrate Judge.

       For the reasons stated in this Court's Order dated March 11, 2020 (Dkt. No. 31), to which

no party has objected (see id. at 5), this action is DISMISSED with prejudice.

       Any pending motions are moot. All filing deadlines and conference dates are adjourned

sine die. The Clerk of Court is directed to close the case.

Dated: New York, New York                     SO ORDERED.
       May 5, 2020


                                              ________________________________
                                              BARBARA MOSES
                                              United States Magistrate Judge
